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United States District Court
District of Massachusetts

LaNell Piercy, et al.,
Plaintiffs,

Civil Action No.
Vv. 24—10608-NMG
AT&T Inc., et al.,

Defendants.

MEMORANDUM & ORDER
GORTON, J.

This putative class action arises out of a transfer in
April, 2023, of Eight Billion Dollars in corporate pension
obligations to a third-party annuity provider. Plaintiffs
allege that defendants AT&T Inc., AT&T Services Inc., and State
Street Global Advisors Trust Co. (collectively “defendants”)
failed to conduct an adequate and impartial investigation of the
propriety of the annuity and its high-risk insurer, opting
instead to purchase the annuity because it was an inexpensive
option.

Plaintiffs filed suit on March 11, 2024. Four days later,
a second putative class action was filed in a different session

of this Court, Schloss, et al. v. AT&T Inc., et al., 1:24-cv-

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10656-FDS. The Schloss action arises out of the same April,
2023, transaction.

Pending before this Court are two motions filed by
plaintiffs in the instant action together with those in the
Schloss action. The first is a motion 1) to consolidate the
actions, 2) to file a consolidated class action complaint, and
3) to appoint interim co-lead class counsel (Docket No. 61).
The second is a joint motion for 1) a stipulated briefing
schedule for the consolidated case, 2) an enlargement of the
default page limits, and 3) the sealing of a motion without
prejudice to refiling (Docket No. 63). For the reasons that
follow, the first motion will be allowed and the second motion
will be allowed, in part, and denied, in part.

I. Consolidation of Actions

According to the Local Rules of this Court, a motion for
consolidation of two or more cases shall be made in the first
case filed in the District. L.R., D. Mass. 40.1(k).
Responsibility for ruling on such a motion therefore falls to
this session.

Consolidation of multiple civil actions is governed by Fed.
R. Civ. P. 42(a). Parties seeking consolidation must first show
that the cases contain a common question of law or fact. Id.

The court must then determine whether the benefits of

consolidation outweigh the costs. Seguro de Servicio de Salud v.

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McAuto Sys. Grp., Inc., 878 F.2d 5, 8 (1st Cir. 1989). If the

cases include common parties, common questions of law and fact,
and efficiency benefits, courts generally permit consolidation
unless the opposing party shows “demonstrable prejudice.” Id.

The instant cases involve common parties and common
questions of fact and law. Defendants in both cases include
AT&T Inc., AT&T Services, Inc., and State Street Global Advisors
Trust Co. The central question at the core of each action is
whether defendants violated obligations owed to plaintiffs
arising from the same event: the transfer of pension obligations
initiated by defendants in April, 2023.

Given this overlap in questions of law and fact, all
parties, including defendants, stand to gain meaningful benefits
through consolidation. Both cases are at an early stage and
discovery has not yet begun. As such, consolidation

avoids the need to contact parties and witnesses for

multiple proceedings . . . and minimizes the
expenditure of time and money for all parties
involved.

Carr v. Analogic Corp., Nos. 18-11301-ADB, 18-11557-ADB, 2018 WL

2932858, at *1 (D. Mass. Oct. 10, 2018).
Consolidation of the actions is therefore warranted, and

plaintiffs will be permitted to file theix amended consolidated

complaint.
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II. Appointment of Interim Co-Lead Class Counsel

Federal Rule of Civil Procedure 23(g) (3) provides that a
court may designate interim counsel prior to determining class
certification. Appointing interim lead counsel may be warranted
in cases where there are

overlapping, duplicative, or competing suits pending in

other courts, and some or all of those suits may be

consolidated.

Id.; see also Manual for Complex Litigation (Fourth) § 21.11.

Such is the case here.

Rule 23(g) (3) does not identify particular requirements for
making an interim designation. Instead, courts generally refer
to factors listed in Rule 23(g) (1) (A), including the work
counsel has conducted in investigating the claims and their
relevant knowledge of the law.

The Court is not restricted to the appointment of a single
lead counsel. Though appointing multiple firms as class counsel
runs the risk of “duplicative services and a concomitant

increase in attorneys’ fees,” In re Milestone Sci. Secs. Lit.,

183 F.R.D. at 418, such an arrangement is warranted so long as
“the interest of all class members will be vigorously,
professionally, yet efficiently handled.” McMorris v. TJX Cos.,
493 F. Supp. 2d 158, 167 (D. Mass. 2007). In fact, co-lead
counsel may be preferable where there are two sets of plaintiffs

and both counsel are sufficiently experienced to allow

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coordination of the proceedings in a manner that will avoid

unnecessary duplication. See Walker v. Deutsch Bank, A.G., No.

04 Civ. 1921(DAB), 2005 WL 2207041, at *3 (S.D.N.Y. Sept. 6,
2005).

Based upon their memoranda and affidavits, the Court is
satisfied that the firms for the joint plaintiffs, Zuckerman
Spaeder and Schlichter Bogard, will provide competent
representation as interim co-lead counsel and will not duplicate
that of the other. Both firms have received industry
recognition for their work in their respective fields.

The two firms are also apparently well-versed in the
details of this case, having conducted extensive independent
investigations of their respective plaintiffs’ claims. Counsel
assures the Court that consolidation will allow the firms to
cooperate and minimize duplicative work going forward.

III. Briefing Schedule

The parties in their pleadings requested deadlines that are
now outdated. The Court therefore sets the following new
schedule:

- the consolidated complaint will be filed on or before

Friday, November 15, 2024;

- defendants’ responses to the consolidated complaint are due

on or before Friday, November 29, 2024;
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- plaintiffs’ opposition to any motion(s) to dismiss is due

on or before Friday, December 13, 2024.

The Court reserves judgment on whether to grant defendants
leave to file a reply and therefore declines to set a deadline
for such filing at this time. The parties may seek leave of
court if a reply is deemed necessary.

Iv. Enlargement of Page Limits

The parties have requested a “slight” enlargement of this
Court’s default page limits from 20 to 40 pages for opening and
opposition briefs and from 10 to 20 pages for replies. The
requested increase is more than necessary but the Court will
allow the parties a 10-page increase in the page limit for
opening and opposition briefs, for a total of 30 pages each. As
per above, the Court will not set a page limit for replies at

this time.

V. Motions to Dismiss and to Seal Supporting Exhibits

The pending motion to dismiss and to seal certain exhibits
in support thereof are dealt with in the order below. The
parties seek to have this Court rule on similar motions pending
in the Schloss case but this session cannot rule on motions
pending in a case assigned to another session. After

consolidation the parties may proceed as necessary.
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ORDER
For the foregoing reasons,

1) the plaintiffs’ motion to consolidate actions and appoint
interim co-lead counsel (Docket No. 61) is ALLOWED ;

2) the parties’ joint motion (Docket No. 63) is ALLOWED, in
part, and DENIED, in part, such that the briefing
schedule for the consolidated case is as set forth above
in the memorandum and the page limit for opening and
opposition briefs is enlarged to 30 pages;

3) the defendants’ motion to dismiss (Docket No. 53) is
DENIED as moot; and

4) the defendant’s motion to seal (Docket No. 49) is DENIED
as moot.

So ordered.

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Nathaniel M. Gortén
United States District Judge

Dated: November x , 2024
